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                          UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,
                                              Case No.
             Plaintiff,
                                              VERIFIED COMPLAINT FOR
      vs.                                     FORFEITURE IN REM

ANY AND ALL CRYPTOCURRENCY
(AND FUNDS DERIVED THEREFROM)
SEIZED FROM BINANCE ACCOUNT
USER ID 91911251 IN THE NAME OF
WANPADET SAE-HENG REGISTERED
MARCH 3, 2021, FROM THAILAND AS
FOLLOWS:

97.33604121 IN BITCOIN,

2,560,435.71078314 IN DOGECOIN,

884.33368015 IN ETHEREUM,

85,843.844344 IN CARDANO, AND

884.13243271 IN ETHEREUM POW.

             Defendant.




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       Plaintiff, United States of America, brings this complaint and alleges as follows in

accordance with Rule G(2) of the Supplemental Rules for Admiralty or Maritime and Asset

Forfeiture Actions, Federal Rules of Civil Procedure:

                                   NATURE OF THE ACTION

       1.        This is a civil action in rem, brought to enforce the provision of 18 U.S.C.

§ 981(a)(1)(C) for forfeiture of cryptocurrency, which constitutes or is derived from proceeds

traceable to a violation of specified unlawful activity as defined in 18 U.S.C. § 1956(c)(7),

including but not limited to wire fraud, 18 U.S.C. § 1343, or a conspiracy to commit such

offense.

       2.        This is a civil action in rem, brought to enforce the provision of 18 U.S.C.

§ 981(a)(1)(A) for the forfeiture of cryptocurrency, which is involved in a transaction or

attempted transaction in violation of 18 U.S.C. §§ 1956 and/or 1957, or any property traceable to

such property.

                         PLAINTIFF AND THE DEFENDANT IN REM

       3.        The plaintiff is the United States of America (the “Plaintiff” or “Government”).

       4.        The defendant consists of cryptocurrency (the “Defendant Cryptocurrencies”)

seized by the U.S. Federal Bureau of Investigation (“FBI”) from an account at Binance via a

federal seizure warrant. The Binance account had a user ID of 91911251 and was in the name of

Wanpadet Sae-Heng and was registered on March 3, 2021, from Thailand (“Subject Account”).

The seizure warrant was issued by the Honorable Raymond Patricco, U.S. Magistrate Judge, on

December 21, 2022.

       5.        The Defendant Cryptocurrencies are currently in the custody of the FBI.




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       6.       The following quantities of cryptocurrency were seized from the Subject Account

and are what constitute the Defendant Cryptocurrencies:

             a. 97. 33604121 in Bitcoin,

             b. 2,560,435.71078314 in Dogecoin,

             c. 884.33368015 in Ethereum,

             d. 85,843.844344 in Cardano, and

             e. 884.13243271 in Ethereum PoW.

       7.       The interests of Wanpadet Sae-Heng and the victim(s) identified herein may be

adversely affected.

                                 JURISDICTION AND VENUE

       8.       This Court has jurisdiction over an action commenced by the United States under

28 U.S.C. § 1345 and over an action for forfeiture under 28 U.S.C. § 1355(a) and (b).

       9.       Venue is proper in this district pursuant to 28 U.S.C. §§ 1355(b)(1) and 1395

because the acts or omissions giving rise to the forfeiture occurred in this district.

                               SUMMARY BASES FOR FORFEITURE

       10.      The United States alleges that the Defendant Cryptocurrencies were involved in

transactions and attempted transactions in violation of 18 U.S.C. § 1956(a)(1)(B)(i) (Money

Laundering) and 1956(h) (Conspiracy to Commit Money Laundering), and constitute or were

derived from proceeds traceable to violations of 18 U.S.C. §§ 1343 (Wire Fraud), 1349

(Conspiracy to Commit Wire Fraud), 1956(a)(1)(B)(i) (Money Laundering), and 1956(h)

(Conspiracy to Commit Money Laundering). The Defendant Cryptocurrencies are, therefore,

subject to forfeiture pursuant to 18 U.S.C. §§ 981(a)(1)(A) and (a)(1)(C) and 28 U.S.C. § 2461.




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                                 PURPOSE OF FORFEITURE

       11.     The purpose of this forfeiture action in rem is two-fold. First, forfeiture of the

Defendant Cryptocurrencies provides a means for the Government to help victims of the scam

recover their funds. Second, forfeiture deters criminal activity by forfeiting and vesting title of

the Defendant Cryptocurrencies with the Government so that criminals do not maintain the fruits

of crime and do not keep facilitating or involved in property of crime. The Defendant

Cryptocurrencies are the remnants of funds swindled from victims, including those in the District

of Idaho, through the course of an investment fraud scam. The funds were subsequently

laundered through a circuitous web of virtual currency exchanges, wallet addresses, and

blockchains. Thus, in summary, the Defendant Cryptocurrencies constitute proceeds subject to

forfeiture as proceeds, facilitating property, and property involved in wire fraud, conspiracy to

commit wire fraud, money laundering, and conspiracy to commit money laundering.

                BACKGROUND ON DIGITAL OR VIRTUAL CURRENCY

       12.     Virtual or Digital Currency: Digital currency (also known as cryptocurrency or

virtual currency)1 is generally defined as an electronic-sourced unit of value that can be used as a

substitute for fiat currency (i.e., currency created and regulated by a government). Digital

currencies exhibit properties similar to other currencies, but do not have a physical form, existing

entirely on the internet. Digital currency is not issued by any government or bank (in contrast

with “fiat” or conventional currencies) and is instead generated and controlled through computer

software operating on a decentralized peer-to-peer network.




1
 For purposes of this complaint, the terms “digital currency,” “cryptocurrency,” and “virtual
currency” are used interchangeably and address the same concept.
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       13.     Virtual or Digital Currency Addresses: Digital or virtual currency addresses

are the virtual locations to which such currencies are sent and received. A virtual currency

address is analogous to a bank account number and is represented as a string of alphanumeric

characters.

       14.     Private Key: Each virtual currency address is controlled through a unique

corresponding private key, a cryptographic equivalent of a password needed to access the

address. Only the holder of an address’s private key can authorize a transfer of virtual currency

from that address to another address. A user of virtual currency can utilize multiple addresses at

any given time and there is no limit to the number of addresses any one user can utilize.

       15.     Address Owner: The identity of an address owner is generally anonymous

(unless the owner opts to make the information publicly available), but analysis of the

blockchain can often be used to identify the owner of a particular address. The analysis can also,

in some instances, reveal additional addresses controlled by the same individual or entity.

       16.     Blockchain: Many virtual currencies publicly record their transactions on what is

referred to as the “blockchain.” The blockchain is essentially a distributed public ledger, run by

a decentralized network, containing an immutable and historical record of every transaction that

has ever occurred utilizing that blockchain’s specific technology. The blockchain can be updated

multiple times per hour and record every virtual currency address that ever received that virtual

currency. It also maintains records of every transaction and all the known balances for each

virtual currency address. There are different blockchains for different types of virtual currencies.

Investigators can follow or “trace” funds on public blockchains, a practice known as “blockchain

analysis.”




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       17.     Blockchain Analysis: It is virtually impossible to look at a single transaction on

a blockchain and immediately ascertain the identity of the individual behind the transaction.

That is because blockchain data generally consist only of alphanumeric strings and timestamps.

But law enforcement can obtain leads regarding the identity of the owner of an address by

analyzing blockchain data to figure out whether that same individual is connected to other

relevant addresses on the blockchain. To analyze blockchain data, law enforcement can use

blockchain explorers as well as commercial services offered by blockchain-analysis companies.

These companies analyze virtual currency blockchains and attempt to identify the individuals or

groups involved in transactions. Through numerous unrelated investigations, law enforcement

has found the information provided by these tools to be reliable.

       18.     Virtual Currency Wallet: A virtual currency wallet is a software application

that interfaces with the virtual currency’s specific blockchain and generates and stores a user’s

addresses and private keys. A virtual currency wallet also allows users to send and receive

virtual currencies. Multiple addresses can be stored in a wallet. Even though the public address

of those engaging in digital currency transactions are recorded on the public ledger, the true

identities of the individuals or entities behind the public address are not recorded. If a real

individual or entity is linked to a public address, however, it may be possible to determine what

transactions were conducted by that individual or entity. Therefore, digital transactions are often

described as “pseudonymous,” meaning they are partially anonymous. Most individuals are

identified when they use a digital currency exchange to make a transaction between digital

currency and fiat currency, or through digital currency exchangers that voluntarily or through

legal order, cooperate with law enforcement.




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       19.      Virtual Currency Exchange: A digital or virtual currency exchange (an

“exchange”) is a business that allows customers to trade digital currencies for other digital or fiat

currencies. An exchange can be a brick-and-mortar business, or strictly an online business. Both

brick and mortar and online exchanges accept a wide variety of digital currencies, and exchange

them for fiat and traditional payment methods, other digital currencies, or transfers between

digital currency owners. Many exchanges are located outside the boundaries of the United States

to avoid regulation and legal requirements. One of the largest and most popular exchanges is

Binance.

       20.      Notwithstanding, because exchanges act as money services businesses, they are

legally required to conduct due diligence of their customers (i.e., “know your customer” or

“KYC” checks) and to have anti-money laundering programs in place.

       21.      Stablecoins: Stablecoins are a type of virtual currency pegged to a commodity’s

price, such as gold, or to a fiat currency, such as the U.S. dollar. USDT (also known as “Tether,”

the name of its issuer) is a stablecoin cryptocurrency that resides on multiple blockchains,

namely the Ethereum and Tron blockchains, among others. The value of USDT is tied to the

value of the U.S. dollar; therefore, one unit of USDT is represented to be backed by one U.S.

dollar in Tether Ltd.’s (a company based in Hong Kong) reserves, which is what makes it a

“stablecoin.”

       22.      Ethereum: Ethereum (“ETH”) is a cryptocurrency that is open source, public,

has a blockchain, and is distributed on a platform that uses “smart contract” technology. The

public ledger is the digital trail of the Ethereum blockchain, which allows anyone to track the

movement of ETH.




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         23.   Digital currency is legal in the United States and accepted for legitimate financial

transactions. However, it is also often used for conducting illegal transactions or for concealing

or disguising the true nature, source, location, ownership, or control of illegally obtained

criminal proceeds. Bitcoin and Ethereum are some of the most commonly used and well-known

digital currencies.

                                  FACTS AND THE SCHEME

                        Background on Pig Butchering Investment Scheme

         24.   This case involves an investment fraud scam, commonly referred to as “pig

butchering,” perpetrated on victims throughout the United States, including in the District of

Idaho.

         25.   Pig butchering likely originated in China in 2019. The locus of pig butchering

activity moved from China, after the country banned cryptocurrency, to nearby locations in

Southeast Asia.

         26.   The Pig Butchering scheme typically begins when a scammer sends a victim a

seemingly innocuous and misdialed text or WhatsApp message. From there, the scammer will

attempt to establish a more personal relationship with the victim by using manipulative tactics

similar to those used in online romance scams.

         27.   The victims in Pig Butchering schemes are referred to as “pigs” by the scammers

because the scammers will use elaborate storylines to “fatten up” victims into believing they are

in a romantic or otherwise close personal relationship. Once the victim places enough trust in

the scammer, the scammer brings the victim into a cryptocurrency investment scheme. The

investment schemes are fake but have the appearance of a legitimate enterprise through the use

of fabricated interfaces, derivative or “spoofed” websites that appear related to legitimate



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companies, and other techniques designed to bolster the scheme’s legitimacy. This generally

includes a fake investment platform operated through a website or mobile application that

displays a fictitious investment portfolio with abnormally large investment returns.

        28.     A common technique used in pig butchering scams is to convince victims to

connect their wallet to a decentralized application (dApp) created by the scammers. Once the

victim’s wallet is connected to the scammer’s dApp and certain permissions are accepted, the

scammer then has the ability to withdraw all cryptocurrency tokens in the victim’s wallet,

without the victim’s knowledge.

        29.     The investment platforms are a ruse, and the funds contributed are routed directly

to a cryptocurrency address the scammers control (this is when the scammers refer to

“butchering” or “slaughtering” the victims). When the victims attempt to withdraw their funds,

they are unable to do so and are often met with various excuses or even required to pay “taxes”

to release their funds. The “tax” payments are an attempt by the scammers to elicit even more

money out of the victims. Eventually, most victims are completely locked out of their accounts

and lose all of their funds.

                    Victim and Tracing of Victim Funds to the Subject Account

        30.     In this case, the FBI has identified a victim from Idaho with an estimated loss of

at least $509,000 related to these various fraudulent investment platforms. The fraudulent

investment platforms are sometimes offshoots of legitimate platforms. The domain name

iteration in this case is as follows: www.eth-defis.co.

        31.     Some of the funds of the identified victim of this scheme, whose funds were

directed to the Subject Account, have been traced from the initial wallet address to the Subject

Account.



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       32.     Based upon the Know Your Customer (“KYC”) information provided to Binance,

the Subject Account in this case was registered from a country, Thailand.

       33.     This complaint does not include all of the cryptocurrency and blockchain analysis

performed, but rather focuses on the tracing of specific funds from victims into the Subject

Account in order to demonstrate the concerted effort to launder and obfuscate the flow of funds

into the Subject Account. Cryptocurrency addresses are truncated throughout this complaint.

                                               Victim T.C.

       34.     An unknown purported female, and purportedly Chinese, reached out to T.C. on

WhatsApp. T.C. is a victim and resides in Idaho. She told T.C. her name was Liai Hui (“HUI”).

HUI claimed to know T.C. through a mutual friend. HUI told T.C. she was a teacher. HUI

presented a cryptocurrency (ETH) investment opportunity to T.C. HUI told T.C. she would walk

him through setting up his account.

       35.     HUI instructed T.C. to deposit money from his bank account to a newly opened

account with OKCoin. T.C started his investment with a smaller amount of $50,000 in

November 2021. Shortly thereafter, T.C. wired $153,000 and $305,000 in separate transactions

to his OKCoin account in December 2021. HUI provided instructions to then convert these

funds to Tether (USDT). HUI sent T.C. a link to his cell phone for an app, instructing T.C. to

click on the link to an account that HUI had told him would be at Coinbase. T.C. sent his entire

investment account from OKCoin to what he thought was his account at Coinbase.

       36.     However, the funds were sent to the scammer’s account and disappeared from

there. The scammers gave T.C. an “overlay” that showed on his phone as Coinbase but turned

out to be the fraudulent account. The fraudulent account had a URL of: https://eth-defis.co/#/.

At one time, T.C.’s account showed a balance of approximately $720,000. By mid-January



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2022, T.C.’s account showed a zero balance. T.C. never heard from HUI again after losing his

entire investment of $509,100.

                         Tracing of Victim T.C.’s Funds to the Subject Account

       37.     From November 29, 2021, through December 23, 2021, T.C. sent three wires and

one debit card transaction, for a total of $509,100, from his bank account to an account at

OKCoin, a cryptocurrency exchange, which he created at the direction of HUI. T.C. converted

the $509,100 into 508,385 USDT and transferred the USDT to a wallet (0xFa46), at the direction

of HUI. When T.C. later checked the wallet balance, he saw that the entire 508,385 USDT had

been transferred to a wallet address controlled by the scammers, 0x32d7.

       38.     Within minutes of each deposit into wallet address 0x32d7, the USDT was

withdrawn, with the majority being sent to three Binance accounts (the “S.K. Account”, the

“N.A. Account”, and the “P.B. Account”, collectively the “Passthrough Accounts”). All the

USDT deposits into the Passthrough Accounts were withdrawn within minutes. The USDT was

then rapidly transferred into and out of multiple intermediary wallet addresses, where it was

commingled with other funds, before a portion (i.e., 304,745 USDT) of the stolen funds arrived

at the Subject Account, as shown in the graph below:




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       39.     After the deposit into the Subject Account, only one withdrawal occurred of

117,473.50 USDT.

       40.     The use of passthrough accounts, such as depicted in the graph above, is a

common method used by individuals who are attempting to launder large amounts of

cryptocurrency and, therefore, want to thwart law enforcement’s ability to trace, and ultimately

recover, criminal proceeds.

       41.     There is no apparent reason, economic or otherwise, for the use of such a complex

movement of cryptocurrency through multiple intermediary wallet addresses, unless the purpose

is to conceal the nature, source, location, ownership, or control of the funds at issue.

                                        The Passthrough Accounts

       42.     The three Binance Passthrough Accounts were each registered utilizing a different

Thailand National ID Card and photo verification; however, the Passthrough Accounts are likely

under common control, based on the following analysis of these accounts:

               a. All three accounts were registered within three days of each other, from

                   December 9, 2021, through December 11, 2021, which was during the time

                   period T.C. was in contact with HUI.

               b. All three accounts were registered using IP addresses based in Thailand. After

                   the accounts were created, the majority of the IP address activity on all three

                   accounts resolved to the same IP address leasing service.

               c. The photo verification pictures provided to Binance, as part of the required

                   account creation procedures, appear to have been taken in parking lots for all

                   three accounts. It is highly unusual for photo verification pictures to be taken in

                   parking lots.



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               d. All three accounts have only 8-10 total cryptocurrency deposits each, with the

                   majority of deposits in each account coming from wallet address 0x32d7.

               e. Each deposit of T.C.’s funds into all three accounts was withdrawn within six

                   minutes of the respective deposit. Additionally, each withdrawal in all three

                   accounts was for exactly 1 USDT less than the respective deposit.

               f. All USDT deposits of T.C.’s funds into the three accounts occurred on the

                   Ethereum blockchain; however, all corresponding withdrawals in all three

                   accounts occurred on the Tron blockchain. This process of swapping from one

                   type of cryptocurrency or blockchain to another is known as “chain-hopping,”

                   a common technique used when laundering cryptocurrency because it is a

                   method used to obfuscate the flow of funds.

                                 FIRST CLAIM FOR RELIEF

                                    18 U.S.C. § 981(a)(1)(A)

       43.     The Government realleges, adopts, and incorporates all allegations in the

paragraphs above as though fully set forth herein.

       44.     The Defendant Cryptocurrencies constitute property involved in transactions or

attempted transactions in violation of 18 U.S.C. §§ 1956 & 1957 (relating to money laundering),

or property traceable to such property, with the specified unlawful activity being violations of 18

U.S.C. § 1343. The Defendant Cryptocurrencies are therefore subject to forfeiture pursuant to 18

U.S.C. § 981(a)(1)(A).




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                                SECOND CLAIM FOR RELIEF

                                      18 U.S.C. § 981(a)(1)(C)

       45.      The Government realleges, adopts, and incorporates all allegations in the

paragraphs above as though fully set forth herein.

       46.      Based on the facts set out above, the Government alleges that the Defendant

Cryptocurrencies constitute or are derived from proceeds traceable to violations of a specified

unlawful activity as defined in 18 U.S.C. § 1956(c)(7), including wire fraud, 18 U.S.C. § 1343,

or a conspiracy to commit such offense. The Defendant Cryptocurrencies are, therefore, subject

to forfeiture to the United States pursuant to 18 U.S.C. § 981(a)(1)(C).

       WHEREFORE, plaintiff United States of America prays:

             a. that due process issue to enforce the forfeiture of the Defendant Cryptocurrencies

                such that process issue for an arrest warrant in rem for the arrest of the Defendant

                Cryptocurrencies;

             b. that due notice be given to all interested parties to appear and show cause why

                forfeiture should not be decreed;

             c. that this Court decree forfeiture of the Defendant Cryptocurrencies to the United

                States of America for disposition according to law; and

             d. for such other and further relief as this Court may deem just and proper, together

                with the costs and disbursements of this action.

       DATED this 15th day of November, 2023.

                                                     JOSHUA D. HURWIT
                                                     UNITED STATES ATTORNEY
                                                     By:
                                                     /s/ William M. Humphries
                                                     WILLIAM M. HUMPHRIES
                                                     Assistant United States Attorney

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